     Case 3:16-cv-03033-RAL Document 113-11 Filed 04/09/17 Page 1 of 1 PageID #: 1554
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                                       U.S. District Court
                                District of Wyoming (Cheyenne)
                         CIVIL DOCKET FOR CASE #: 2:1S-cv-00188-ABJ


  Lundahl et al v. Global E LLC et al                                  Date Filed: 10115/2015
  Assigned to: Honorable Alan B Johnson                                Date Terminated: 05/09/2016
  Referred to: Honorable Kelly H Rankin                                Jury Demand: Both
  Case in other court: USCA 10th Circuit, 16-08029                     Nature of Suit: 443 Civil Rights:
                      USCA,16-08047                                    Accomodations
  Cause: 42: 1981 Housing Discrimination                               Jurisdiction: Federal Question



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     Da~e Filed     0   _~cket Text 	                                                                      -:--------_=~
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               1.1 	 NOTICE OF JOINDER in II Motion to Remand by Defendant Centurylink Public
     03/07/2016 .
                     Communications Inc (Pearson, O'Kelley) (Entered: 03/07/2016)
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